
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-07-278-CR



JOHN MICHAEL MCBRIDE					 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;		APPELLANT



V.

THE STATE OF TEXAS	STATE

----------

FROM COUNTY COURT
 OF YOUNG COUNTY

----------

MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

----------

We have considered appellant’s “Motion To Dismiss Appeal.” 
 The motion complies with rule 42.2(a) of the rules of appellate procedure. 
 Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
 See 
 
Tex. R. App. P.
 42.2(a), 43.2(f). 																PER CURIAM



PANEL D:	
CAYCE, C.J.; LIVINGSTON,
 and DAUPHINOT, JJ.



DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: February 28, 2008							

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




